Case 1:08-cr-10309-MLW Document 2-2 Filed 08/13/08 Page 1 of 2
JS 45 (5/97) - (Revised USAO MA 11/15/05)

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: _Canton Category No. I Investigating Agency FBI

City _Canton Related Case Information:

County Norfolk Superseding Ind./ Inf. Case No.

 

Same Defendant New Defendant
Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

 

 

 

Defendant Information:

Defendant Name Michelle Robinson Juvenile [| Yes No
Alias Name Victoria Gonzales, Michele Wilkinson, Shanae M. Wilkerson

Address 341 Bolivar St. 4M, Canton, MA 02021-4141

Birth date (Year only): _1979_ SSN (last 4#): 6115 Sex F Race: B Nationality:

Defense Counsel if known: Address:

 

 

 

Bar Number:
U.S. Attorney Information:

AUSA James P, Dowden Bar Number if applicable 647539

 

 

Interpreter: [| Yes No List language and/or dialect:

 

Victims: Yes [_]No If Yes, are there multiple crime victims under 18 U.S.C. §3771(d)(2) [_] Yes [X] No

Matter to be SEALED; Yes [_]No
[] Warrant Requested tr} Regular Process [Xx] In Custody

Location Status:

 

 

 

 

 

Arrest Date: August 13, 2008

[| Already in Federal Custody as in

[| Already in State Custody [| Serving Sentence [| Awaiting Trial
[| On Pretrial Release: Ordered by on

Charging Document: Complaint [| Information [J Indictment
Total # of Counts: | Petty [| Misdemeanor Felony 1}

Continue on Page 2 for Entry of U.S.C, Citations

x} Thereby certify that the case numbers of any prior p
accurately set forth above.

dings hefore a Magistrate Judge are

    

late: August 13, 2008 Signature of

 
Case 1:08-cr-10309-MLW Document 2-2 Filed 08/13/08
58 45 (5/97) - (Revised USAO MA 11/15/05) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

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Name of Defendant Michelle Robinson

 

U.S.C, Citations
Index Key/Code Description of Offense Charged

Set1 18 U.S.C. sec 875(d)} Threats in Interstate Commerce

Set 2

Count Numbers

 

Set 3

Set 4

 

Set §

Set 6

 

Set 7

 

Set §

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:
